                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

       Plaintiff,
                                                        No. 18-cr-2060-CJW
 vs.
                                             REPORT AND RECOMMENDATION
 MICHAEL POTTER,

       Defendant.
                                ____________________


       On October 12, 2018, the above-named defendant appeared before the undersigned
United States Magistrate Judge by consent and, pursuant to Federal Rule of Criminal
Procedure 11, pleaded guilty to Count 1 of the Information.        After cautioning and
examining Defendant under oath concerning each of the subjects mentioned in Rule 11,
I determined that Defendant’s decision to plead guilty was knowledgeable and voluntary,
and the offense charged was supported by an independent basis in fact containing each of
the essential elements of the offense.    I therefore RECOMMEND that the Court
ACCEPT Defendant’s guilty plea and adjudge Defendant guilty.
       At the commencement of the Rule 11 proceeding, I placed Defendant under oath
and explained that if Defendant answered any question falsely, the Government could
prosecute Defendant for perjury or for making a false statement. I also advised Defendant
that in any such prosecution, the Government could use against Defendant any statements
made under oath.
       I then asked Defendant a number of questions to ensure Defendant had the requisite
mental capacity to enter a plea. I elicited Defendant’s full name, age, and extent of




         Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 1 of 6
education. I also inquired into Defendant’s history of mental illness; use of illegal and/or
prescription drugs; and use of alcohol. From this inquiry, I determined Defendant was
not suffering from any mental disability that would impair Defendant’s ability to make a
knowing, intelligent, and voluntary guilty plea.
       Defendant acknowledged receipt of a copy of the Information and further
acknowledged that Defendant had fully discussed the Information with Defendant’s
counsel. Defendant acknowledged that Defendant had fully conferred with Defendant’s
counsel prior to deciding to plead guilty and that Defendant was satisfied with counsel’s
services.
       I fully advised Defendant of all the rights Defendant would be giving up if
Defendant decided to plead guilty, including the following:
       1.       The right to assistance of counsel at every stage of the case;

       2.       The right to a speedy, public trial;

       3.       The right to have the case tried by a jury selected from a cross-section of
                the community;

       4.       That Defendant would be presumed innocent, and would be found not guilty
                unless the Government could prove each and every element of the offense
                beyond a reasonable doubt;

       5.       That Defendant would have the right to see and hear all of the Government’s
                witnesses, and Defendant’s attorney would have the right to cross-examine
                any witnesses called by the Government;

       6.       That Defendant would have the right to subpoena witnesses to testify at the
                trial, and if Defendant could not afford to pay the costs of bringing these
                witnesses to court, then the government would pay those costs;

       7.       That Defendant would have the privilege against self-incrimination: i.e.,
                Defendant could choose to testify at trial, but need not do so; if Defendant




                                               2

            Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 2 of 6
             chose not to testify, then the Court would instruct the jury that it could not
             draw any adverse inference from Defendant’s decision not to testify; and

      8.     That any verdict by the jury would have to be unanimous.

      I explained that if Defendant pleaded guilty, Defendant would be giving up all of
these rights, there would be no trial, and Defendant would be adjudged guilty just as if
Defendant had gone to trial and a jury returned a guilty verdict against Defendant.
      • Plea Agreement
      I determined that Defendant was pleading guilty pursuant to the Fourth
Memorandum of a Proposed Plea Agreement between the United States Attorney’s Office
and Defendant (“the plea agreement”). After confirming that a copy of the written plea
agreement was in front of Defendant and Defendant’s counsel, I determined that
Defendant understood the terms of the plea agreement. I summarized the plea agreement,
and made certain Defendant understood its terms.
   • Elements of Crime and Factual Basis
      I summarized the charges against Defendant, and listed the elements of the crime
charged. I determined that Defendant understood each and every element of the crime,
and Defendant’s counsel confirmed that Defendant understood each and every element of
the crime charged. For the offense to which Defendant was pleading guilty, I elicited a
full and complete factual basis for all elements of the crime charged in the Information.
Defendant’s attorney indicated that the offense to which Defendant was pleading guilty
was factually supported.
       • Sentencing
       I explained to Defendant that the district judge will determine the appropriate
sentence at the sentencing hearing. I explained that the Court will use the advisory United
States Sentencing Guidelines to calculate Defendant’s sentence. I explained that the
sentence imposed might be different from what the advisory guidelines suggested it


                                            3

         Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 3 of 6
should be, and may be different from what Defendant’s attorney had estimated. I
explained that a probation officer will prepare a written presentence investigation report
and that Defendant and Defendant’s counsel will have an opportunity to read the
presentence report before the sentencing hearing, and will have the opportunity to object
to the contents of the report. I further explained that Defendant and Defendant’s counsel
will be afforded the opportunity to present evidence and be heard at the sentencing
hearing.
       I advised Defendant of the consequences of the guilty plea, including the maximum
term of imprisonment, the maximum term of supervised release, and the maximum fine,
and the possibility that restitution may be ordered. Specifically, I advised Defendant that
Count 1 of the Information is punishable by (1) up to twenty years in prison without
the possibility of parole; (2) a period of supervised release following prison of not more
than three years; and (3) a fine of not more than $250,000. I further advised Defendant
that he may be subject to the alternative fine provisions of 18 U.S.C. Section 3571.
Under this Section, the maximum fine that may be imposed on Defendant is the greatest
of the following amounts: (1) twice the gross gain to Defendant resulting from the
offense; (2) twice the gross loss resulting from the offense; (3) $250,000; or (4) the
amount specified in the section defining the offense.
       I explained that the Court will impose conditions of supervised release, and that if
Defendant violates a condition of supervised release, then the Court could revoke
Defendant’s supervised release and require Defendant to serve all or part of the term of
supervised release in prison, without credit for time previously served on supervised
release. I advised Defendant that regardless of the sentence imposed, there would be no
possibility of parole. I also advised Defendant that the Court will impose a mandatory
special assessment of $100.00, which Defendant must pay. I advised Defendant of the




                                            4

           Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 4 of 6
collateral consequences of pleading guilty. Defendant acknowledged understanding all
of the above consequences.
       I further explained that Defendant is required to pay restitution to his victims.
       I also explained that Defendant’s appeal rights are limited by the terms of the plea
agreement.
       Defendant confirmed that the decision to plead guilty was voluntary; was not the
result of any promises; and was not the result of anyone threatening, forcing, or
pressuring Defendant to plead guilty. I explained that after the district judge accepts
Defendant’s guilty plea, Defendant will have no right to withdraw the plea at a later date,
even if the sentence imposed is different from what Defendant anticipated.
       Defendant confirmed that Defendant still wished to plead guilty, and Defendant
pled guilty to Count 1 of the Information.
       I find the following with respect to the guilty plea:
       1.     Defendant’s plea is voluntary; knowing; not the result of force, threats or
              promise; and Defendant is fully competent.

       2.     Defendant is aware of the minimum and maximum punishment for the count
              to which he pleads guilty.

       3.     Defendant knows of and voluntarily waives Defendant’s jury trial rights.

      4.      There is a factual basis for the plea.

      5.      Defendant is guilty of the crime to which Defendant pled guilty.



      I find by clear and convincing evidence that Defendant is not likely to flee or to
pose a danger to the safety of any other person or the community.            Therefore, in
accordance with 18 U.S.C. Sections 3142(b) and 3143(a), Defendant is released on his
own recognizance pending sentencing.



                                             5

         Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 5 of 6
       I explained that the Parties have fourteen (14) days from the filing of this Report
and Recommendation to file any objections to my findings, and that if no objections are
made, then the district judge may accept Defendant’s guilty plea by simply entering a
written order doing so. 28 U.S.C. § 636(b)(1); Fed. R. Crim. P. 59(b). But see, United
States v. Cortez-Hernandez, 673 Fed. App’x 587, 590-91 (8th Cir. 2016) (per curiam)
(suggesting that a Defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed). The district court
judge will undertake a de novo review of the Report and Recommendation if a written
request for such review is filed within fourteen (14) days after this Report and
Recommendation is filed.


DONE AND ENTERED at Cedar Rapids, Iowa, this 17th day of October, 2018.




                                          ________________________________
                                          Mark A. Roberts
                                          United States Magistrate Judge
                                          Northern District of Iowa




                                             6

         Case 6:18-cr-02060-CJW Document 12 Filed 10/17/18 Page 6 of 6
